Case 19-70059-FJS          Doc 18 Filed 03/04/19 Entered 03/04/19 16:35:07            Desc Main
                                  Document      Page 1 of 4
                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division
 

In re:
ROBERT WILLIAM LOULIES
dba BD LOULIES, INC.
                                                            Case No. 19-70059-FJS
and                                                         Chapter 7

DEBORAH MARIE LOULIES
dba BD LOULIES, INC.

        Debtors-in-Possession.


U.S. BANK NATIONAL ASSOCIATION,
as Trustee for SPECIALTY UNDERWRITING
AND RESIDENTIAL FINANCE TRUST
MORTGAGE LOAN ASSET-BACKED
CERTIFICATES, SERIES 2006-AB3,

        Movant,

vs.

ROBERT WILLIAM LOULIES

and

DEBORAH MARIE LOULIES

        Respondents.

          DEBTORS’ RESPONSE TO MOTION FOR RELIEF (Docket Entry #16)

        COMES NOW the Debtors-in-Possession, Robert William Loulies and Deborah Marie

Loulies (collectively, the “Debtors”), by counsel, and hereby respectfully submit the following as

their response to the Motion for Relief from Stay (Docket Entry #16) filed by U.S. Bank National



Joseph T. Liberatore, VSB No. 32302
Crowley, Liberatore & Ryan, P.C.
150 Boush Street, Ste. 300
Norfolk, VA 23510
Telephone: (757) 333-4500
Facsimile: (757) 333-4501
Counsel for the Debtors
 
Case 19-70059-FJS        Doc 18     Filed 03/04/19 Entered 03/04/19 16:35:07             Desc Main
                                    Document      Page 2 of 4


Association, as Trustee for Specialty Underwriting and Residential Finance Trust Mortgage Loan

Asset – Backed Certificates, Series 2006-AB3 (“U.S. Bank”).

           1. The Debtors admit the allegations contained in Paragraph One of the Motion for

Relief from Stay filed by U.S. Bank.

           2. With respect to Paragraph Two of the Motion for Relief from Stay filed by U.S.

Bank, the Debtors deny the allegations to the extent that such allegations include interest,

attorney’s fees, late fees, and penalties which exceed and/or contradict the terms of the contract or

are unenforceable pursuant to applicable law.

           3. With respect to Paragraph Three of the Motion for Relief from Stay filed by U.S.

Bank, the Debtors admit the allegations contained in Paragraph Three of the Motion for Relief

from Stay filed by U.S. Bank to the extent that the Debtors have certain obligations to a certain

party or parties under an alleged promissory note for which the original documents appear to be

similar to the documents asserted as exhibits to the Motion, but denies the remainder of the

allegations contained therein including and especially as to the exact dollar amount of liability.

The Debtors further deny that U.S. Bank is entitled to relief from the automatic stay.

           4. The Debtors admit the allegations contained in Paragraph Four of the Motion for

Relief from Stay filed by U.S. Bank.

           5. While the Debtors admit that there has been some lapse in the payment of the

alleged obligation owed to U.S. Bank, the Debtors deny the amount of the balance currently due

is $161,506.40 and demand strict proof thereof.

           6. This paragraph contains a legal conclusion to which no response is required.
           7. Since the filing of their Petition, the Debtors were invited by their primarily

mortgage lender, Mr. Cooper to contact Mr. Cooper’s Home Retention Department, and have
Case 19-70059-FJS           Doc 18    Filed 03/04/19 Entered 03/04/19 16:35:07           Desc Main
                                      Document      Page 3 of 4


submitted an application for loan modification. Additionally, per U.S. Bank’s directive (during the

process of submitting their loan modification application to U.S. Bank), the Debtors provided U.S.

Bank with a copy of their loan modification application documents that they previously submitted

to Mr. Cooper. Upon acceptance, the Debtors intend to seek subsequent approval from this Court

to restructure and satisfy the obligations owed to Mr. Cooper, and to U.S. Bank pursuant to its

purported, second position deed of trust. If the loan modification applications are not accepted, the

Debtors have conveyed to U.S. Bank that they will consent to relief and cooperate with U.S. Bank’s

(and Mr. Cooper’s) efforts to sell the property.

           8. U.S. Bank will not be harmed by providing the Debtors with 60 to 90 days to allow

Mr. Cooper’s and U.S. Bank’s respective home retention departments to make a final

determination as to the Debtors’ loan modification applications.

       WHEREFORE, the Debtors pray that this Court deny the Motion for Relief from Stay filed

by U.S. Bank, or condition relief upon allowing the Debtors the opportunity to secure a

modification of the terms and obligations owed to U.S. Bank, and for such other and further relief

as this Court deems just.

Date: March 4, 2019                                           ROBERT WILLIAM LOULIES
                                                              DEBORAH MARIE LOULIES


                                                              By:    /s/ Joseph T. Liberatore
                                                                     Joseph T. Liberatore



Joseph T. Liberatore, VSB No. 32302
Crowley, Liberatore & Ryan, P.C.
150 Boush Street, Ste. 300
Norfolk, VA 23510
Telephone: (757) 333-4500
Facsimile: (757) 333-4501
Counsel for the Debtors
Case 19-70059-FJS         Doc 18   Filed 03/04/19 Entered 03/04/19 16:35:07            Desc Main
                                   Document      Page 4 of 4


                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 4, 2019, a true copy of the foregoing Response was mailed
via first class mail, postage prepaid to the following parties and/or sent via ECF Notice:

David A. Rosen, Esq.
RAS CRANE, LLC
11900 Parklawn Drive, Suite 310
Rockville, MD 20852

Tom C. Smith, Jr., Esq.
P.O. Box 1506
Virginia Beach, VA 23451

John P. Fitzgerald, III
Office of the U.S. Trustee, Region 4 -N
200 Granby Street, Room 625
Norfolk, VA 23510


                                                            /s/ Joseph T. Liberatore
                                                            Joseph T. Liberatore
